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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

In re:                                                      §
                                                            §        Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                  §        Chapter 11 (Subchapter V)
                                                            §
         Debtor.                                            §

  EIGHTH INTERIM ORDER AUTHORIZING DEBTOR’S USE OF CASH COLLATERAL AND
                 PROVIDING PARTIAL ADEQUATE PROTECTION

         On July 29, 2022, the above-captioned debtor and debtor-in-possession (the “Debtor” or “FSS”) in

the above-captioned chapter 11 case (the “Case”), filed its Emergency Motion for an Interim and Final Order

(I) Authorizing the Use of Cash Collateral Pursuant to sections 105, 361, and 363 of the Bankruptcy Code and

Federal Rule of Bankruptcy Procedure 4001(b) and (II) Granting Adequate Protection to the Pre-Petition

Secured Lender (the “Motion”). In the Motion, the Debtor requested, inter alia, entry of an interim order

pursuant to Sections 105, 361, and 363 of title 11 of the United States Code,11 U.S.C. §§ 101, et seq. (the

“Bankruptcy Code”), and in accordance with Rules 2002, 4001,and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), authorizing the Debtor’s use of Cash Collateral (as hereinafter defined),

as set forth herein. The Court held an interim hearing on the Motion on August 3, 2022 (the “Interim Hearing”)

and entered an order approving the interim use of cash collateral. (the “First Interim Order”). The Court has

subsequently conducted periodic hearings extending authority to use cash collateral on an interim basis. This

order is the eighth interim order (“Eighth Interim Order”), negotiated between the Debtor, PQPR and certain

tort claimants pursuing litigation against the Debtor and others in Texas and Connecticut (the “Tort Plaintiffs”).

The Debtor and the Tort Plaintiffs reserve all rights relating to a final hearing on the use of cash collateral.

The findings contained in the First Interim Order are incorporated by reference.

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                   Interim Use. The Court approves the interim use of cash collateral as set forth herein.
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                 Interim Order. This Order shall be considered an interim cash collateral order and shall be

binding upon all parties and upon all subsequently appointed court officers, including any trustee appointed in

the Case under Chapter 7 or Chapter 11 of the Bankruptcy Code.

                 DIP Account. The Debtor shall maintain debtor in possession (“DIP”) accounts at Axos Bank

which accounts shall contain all operating revenues and any other source of cash constituting Cash Collateral,

which is (or has been) generated by and is attributable to the Debtor’s business (the “DIP Account”). All cash

generated by the Debtor or from the Debtor’s business or assets, including any cash held in any of the Debtor’s

pre-petition bank accounts, shall be immediately transferred by the Debtor to the DIP Account. The Debtor

shall be prohibited from withdrawing or using Cash Collateral funds from the DIP Account except as provided

for in the Budget, this Order, or pursuant to further order of the Court.

                 Terms of Cash Collateral Use. The Debtor is hereby authorized to use Cash Collateral during

the period covered by this Eighth Interim Order (the “Interim Period”) to pay the items set forth in the revised

Budget attached to this Order as Exhibit A, and up to the respective aggregate amount of disbursements set

forth in the Budget for any week during the Interim Period, subject to the Permitted Variance (as hereinafter

defined). The Permitted Variance shall be defined as 10% per line item and 20% of the overall Budget. The

Debtor shall not use, sell, or expend, directly or indirectly, the Cash Collateral except pursuant to the Budget

and upon the terms and conditions set forth in this Order.

                 No Payments to Insiders. Other than as provided for in the Budget, the Debtor shall not make

any payment to or for the benefit of any insider of the Debtor, as that term is defined in section 101(31) of the

Bankruptcy Code. Other than as provided for in the Budget, no payments to any insider during the Interim

Period shall exceed $10,000.

                 Payment to PQPR for Inventory Purchase. The (i) rights of Creditors and parties in interest to

object to the appropriateness of post-petition payments to PQPR for Inventory Purchases and file pleadings

with the Court seeking to clawback the PQPR Payment as set forth in the First and Second Interim Cash

Collateral Orders are fully preserved by this Order and (ii) the Debtor shall provide notice to creditors and
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parties in interest upon the upon payment in full of the $500,000 inventory purchase payment to PQPR

originally scheduled to be paid in the Second Interim Cash Collateral Order and the time for objections to that

payment shall expire 30 days following the date the notice of final payment is filed with the Court.

                 Further Authorization. The Debtor is hereby authorized to enter into all agreements pursuant

to the terms of this Order necessary to allow the Debtor to use Cash Collateral subject to the terms of this Order

in the amounts and for the expenses set forth on the Budget. The Debtor is authorized to collect and receive all

accounts receivable and other operating revenues and immediately deposit same in the DIP Account.

                 Taxes. Nothing in this Order shall be construed to grant PQPR (the “Pre-Petition Lender”)

liens which are senior to pre- and post-petition statutory ad valorem real property tax liens. The Debtor shall

remain current in all post-petition tax payments and reporting obligations, including, but not limited to, all ad

valorem real property taxes and federal trust fund taxes.

                 Adequate Protection – Replacement Liens. The adequate protection and related carve out set

forth in the First Second Third and Fourth Interim Orders are incorporated in the Eighth Interim Order.

                 Subsequent Modification of Order. If any or all of the provisions of this Order are hereafter

modified, vacated or stayed, such modification, vacation or stay shall not affect the validity of any obligation,

indebtedness or liability incurred by the Debtor from the Petition Date through the effective date of such

modification, vacation or stay, or the validity or enforceability of any security interest, lien or priority

authorized or created by this Order.

                 Credit Card Processing. The Debtor is authorized to remit fulfillment costs as provided in the

Fulfillment Agreement previously approved by this Court’s Order Granting Emergency Motion for Entry of

Order Authorizing Debtor to Enter into Fulfillment Agreement [Dkt. No. 286] from the daily settlement

contemporaneously with the distributions to FSS and PQPR. Proceeds received by FSS for sales of PQPR

inventory shall be held by FSS in trust pending distribution to PQPR by FSS.

                 Reporting. The Debtor shall report each Thursday for the preceding calendar week reflecting

weekly sales and disbursement of the proceeds of those sales. A copy of the report shall be forwarded to the
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U.S. Trustee, the Subchapter V Trustee, counsel for PQPR and Jarrod Martin as a representative of the Tort

Plaintiffs.

                 Reservation of Rights. Nothing herein shall constitute a finding or ruling by this Court that

any alleged and disputed lien or alleged and disputed security interest held by the alleged Pre-Petition Lender

in respect of the purported PQPR Notes (as defined in the Motion) is valid, senior, enforceable, prior, perfected,

or nonavoidable. Moreover, nothing herein shall prejudice the rights of any party-in-interest, including but not

limited to the Debtor, any official committee appointed in the Chapter 11 Case or any other creditor, to

challenge the validity, priority, enforceability, seniority, avoidability, perfection, or extent of any alleged and

disputed lien or alleged and disputed security interest held by the alleged Pre-Petition Lender in respect of the

purported PQPR Notes.

                 Final Cash Collateral Hearing: A further interim hearing on the Motion shall be held before

this Court on February ___, 2023, at _______ a.m. Central time.

         Houston, Texas
         Dated: December ___, 2023

                                                              UNITED STATES BANKRUPTCY JUDGE
                                                                                                                                                                        CURRENT 4 WEEK BUDGET
                                                                                                                       1/21/2023-          1/28/2023-          2/04/2023-    2/11/2023-
                                                                                                                                                                                                                                                               NOTES
                                                                                                                       1/27/2023           2/03/2023           2/10/2023     2/17/2023        Total
                                                                                                     Week Number            4                   5                   6             7
                                                                   Income
                                                                   Product Sales (Net of 7.0% Merchant Fee)        $    345,000.00     $    345,000.00     $    345,000.00     $    345,000.00     $ 1,380,000.00     Net of 7.0% CC Merchant fees. Includes Shipping Fees and Sales Tax but excludes any PQPR / ESG related sales
                                                                   Point of Sales Revenue                               195,000.00          195,000.00          195,000.00          195,000.00         780,000.00     Fulfillment Vendor Product Sales
                                                                   Platinum / PQPR Commission                            75,000.00           75,000.00           75,000.00           75,000.00         300,000.00     Net of 50% payment to PQPR and 80% to ESG
                                                                   Donations                                              3,500.00            3,500.00            5,000.00            5,000.00          17,000.00
                                                                   Total Income                                         618,500.00          618,500.00          620,000.00          620,000.00       2,477,000.00
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                                                                   Selling & Product Costs
                                                                   Inventory Purchases                                  (102,000.00)                -                   -                   -          (102,000.00)   Yellow Emperor Inventory
                                                                   Inventory Purchases                                          -                   -           (250,000.00)        (250,000.00)       (500,000.00)   Hi-Tec Inventory purchase per payment plan agreement
                                                                   Point of Sale Product Cost                            (58,500.00)         (58,500.00)         (58,500.00)         (58,500.00)       (234,000.00)   Fulfillment Vendor product costs
                                                                   Fulfillment Services                                  (64,687.50)         (64,687.50)         (64,687.50)         (64,687.50)       (258,750.00)   Fulfillment Vendor shipping and handling costs
                                                                   Texas Sales Tax (20% of Sales @ 6.25%)                 (4,312.50)          (4,312.50)          (4,312.50)          (4,312.50)        (17,250.00)
                                                                   Total Cost of Goods Sold                             (229,500.00)        (127,500.00)        (377,500.00)        (377,500.00)     (1,112,000.00)
                                                                   Operating Expenses
                                                                   Advertising & Promotion
                                                                   Print Media                                                  -                   -                   -             (3,000.00)         (3,000.00)
                                                                   Radio Show Advertising                                       -            (14,760.00)                -                   -           (14,760.00)
                                                                   Total Advertising & Promotion                                -            (14,760.00)                -             (3,000.00)        (17,760.00)
                                                                   Computer/IT/IP Expense
                                                                   Internet & TV services                                       -             (2,500.00)                -             (1,750.00)        (4,250.00)
                                                                   Server Hosting / Cloud Service / Ecomm                       -            (90,000.00)                -            (15,000.00)      (105,000.00)
                                                                   Satellite Service                                            -           (140,000.00)                -                   -         (140,000.00)
                                                                   Telecommunications                                           -            (18,500.00)                -             (2,000.00)       (20,500.00)
                                                                   Image License, Software & Other                              -                   -                   -            (10,000.00)       (10,000.00)
                                                                   Total Computer/IT/IP Expense                                 -           (251,000.00)                -            (28,750.00)      (279,750.00)
                                                                   Office & Administrative Expense
                                                                   Bank Fees & Service Charges                              (200.00)            (200.00)            (200.00)            (200.00)          (800.00)
                                                                   Insurance                                                    -                   -                   -             (5,000.00)        (5,000.00)    Liability and property, we don't have current Workers Comp policy
                                                                   Rent                                                         -            (52,000.00)                                               (52,000.00)




                                                                                                                                                                                                                                                                                                                                     EXHIBIT
                                                                   Utilites                                                     -             (3,100.00)          (6,000.00)                -           (9,100.00)
                                                                   Janitorial                                                   -             (3,000.00)          (2,000.00)                -           (5,000.00)
                                                                   Office Security                                        (4,000.00)          (4,000.00)          (4,000.00)          (4,000.00)       (16,000.00)




                                                                                                                                                                                                                                                                                                                                               A
                                                                   Repair & Maintenance                                         -             (2,500.00)                -                   -           (2,500.00)
                                                                   Supplies/Printing/Copy                                 (2,000.00)          (1,000.00)          (5,000.00)          (1,000.00)        (9,000.00)    Includes Konica Minolta copier lease
                                                                   Business Meals                                           (400.00)            (400.00)            (400.00)            (400.00)        (1,600.00)
                                                                   Total Office & Administrative Expense                  (6,600.00)         (66,200.00)         (17,600.00)         (10,600.00)      (101,000.00)
                                                                   Personnel Expenses
                                                                   Salaries & Wages & Benefits                          (125,000.00)                -           (125,000.00)                -         (250,000.00)
                                                                   Payroll Tax                                           (11,600.00)                -            (11,600.00)               0.09        (23,199.91)
                                                                   Contract Employees                                    (49,450.00)          (4,450.00)         (49,450.00)          (4,450.00)      (107,800.00)
                                                                   Consulting Services                                    (2,400.00)          (2,400.00)          (2,400.00)          (2,400.00)        (9,600.00)    HR and Bookeeping Fees
                                                                   Alex Jones Salary                                     (20,000.00)                -            (20,000.00)                -          (40,000.00)
                                                                   Total Personnel Expenses                             (208,450.00)          (6,850.00)        (208,450.00)          (6,849.91)      (430,599.91)
                                                                   Travel
                                                                   Mileage/Parking/Tolls                                    (500.00)            (100.00)            (100.00)            (100.00)           (800.00)
                                                                   Alex Jones Roadshow Expenses                          (20,000.00)                -                   -                   -           (20,000.00)
                                                                   Vehicle Leases                                               -                   -                   -               (550.00)           (550.00)
                                                                   Total Travel Expenses                                 (20,500.00)            (100.00)            (100.00)            (650.00)        (21,350.00)
                                                                   Total Operating Expenses                             (235,550.00)        (338,910.00)        (226,150.00)         (49,849.91)      (850,459.91)
                                                                   Non-Operating Expenses
                                                                   Payment to PQPR                                        (5,000.00)          (5,000.00)          (5,000.00)          (5,000.00)        (20,000.00)   Weekly adequate protection payment
                                                                   Total Other Expenses                                   (5,000.00)          (5,000.00)          (5,000.00)          (5,000.00)        (20,000.00)
                                                                   Professional Fees
                                                                   CRO Fees                                                     -            (50,000.00)                -                   -          (50,000.00)
                                                                   Trustee Fees                                          (15,000.00)                -            (15,000.00)                -          (30,000.00)
                                                                   Trustee Counsel                                       (15,000.00)                -            (15,000.00)                -          (30,000.00)
                                                                   Legal Fees - Reynal                                          -             (9,680.00)                -                   -           (9,680.00)
                                                                   Legal Fees - Appeal Counsel                                  -                   -            (45,000.00)                -          (45,000.00)
                                                                   Ray Battaglia                                                -                   -            (30,000.00)                -          (30,000.00)
                                                                   Total Professional Fees                               (30,000.00)         (59,680.00)        (105,000.00)                -         (194,680.00)
                                                                   Total Cash Flow                                      118,450.00           87,410.00           (93,650.00)        187,650.09         299,860.09
                                                                   Ending Cash                                         1,118,450.00        1,205,860.00        1,112,210.00        1,299,860.09
